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                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA

                                                              Case No.:

  SEMPER FOODS, LLC,

           Plaintiff,

  v.

  ERIC OUELLETTE,

        Defendant.
  _________________________/

                                                 VERIFIED COMPLAINT

           Plaintiff, Semper Foods, LLC (“Semper Foods”) sues Defendant, Eric Ouellette

  (“Ouellette”), and alleges:

                                     PARTIES, JURISDICTION, AND VENUE

           1.         Plaintiff, Semper Foods, is a limited liability company organized and existing under

  the laws of the State of Florida with its principal place of business located in Palm Beach County,

  Florida. It has two members, Lion Distribution & Trading, LLC; and Sixten Consultants, LLC.

  Both of Semper Foods’ members are single-member limited liability companies. Lion Distribution

  & Trading, LLC, is wholly owned by Andy Geller, who is a citizen of the State of Florida. Sixten

  Consultants, LLC, is wholly owned by Jency Lopez, who is also a citizen of the State of Florida.

           2.         Defendant, Ouellette, is an individual over the age of eighteen (18) who resides in

  the State of Michigan and is a citizen thereof.

           3.         This Court has jurisdiction over the subject matter of this action pursuant to 28

  U.S.C. § 1332 because there is complete diversity between the Parties and the amount in

  controversy exceeds $75,000, as well as pursuant to 28 U.S.C. § 1331 because Semper Foods
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  alleges a claim for misappropriation of trade secrets under the Defend Trade Secrets Act of 2016,

  18 U.S.C. § 1836(c) (“DTSA”).

          4.         This Court has pendent or supplemental jurisdiction over Semper Foods’

  remaining claims pursuant to 28 U.S.C. § 1367.

          5.         This Court has personal jurisdiction over Ouellette because Ouellette (i) agreed to

  submit some or all of the claims alleged herein to the exclusive jurisdiction of the state or federal

  Courts of Florida; (ii) purposefully directed substantial activities at the residents of Florida and

  this Judicial District; or (iii) has committed tortious acts (including, without limitation, the acts of

  breach of fiduciary duty and tortious interference with business relationships and contracts alleged

  herein) in or directed at persons located in Florida.

          6.         Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391 and because

  Ouellette submitted to the exclusive jurisdiction of the state or federal courts in this District.

                                              FACTUAL ALLEGATIONS

          A. Semper Foods’ Formation and its Business.

          7.         Andrew Geller (“Geller”), Jency Lopez (“Lopez”), and Ouellette collectively

  founded Semper Foods in 2018.

          8.         Initially, Geller owned a one-third interest in Semper Food through his company,

  Lion Distribution & Trading, LLC (“LTD”); Lopez owned a one-third interest through his

  company, Sixten Consultants, LLC (“Sixten”); and Ouellette owned a one-third interest through

  his company, Semper Consulting, LLC (“Semper Consulting”) (together with LTD and Sixten,

  the “Members”) owned a one-third interest.




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          9.         On February 1, 2018, the Members entered into the Operating Agreement of

  Semper Foods, LLC (the “Operating Agreement”). A true and accurate copy of the Operating

  Agreement is attached hereto as Exhibit “A.”

          10.        Semper Foods is a specialized broker and distributor of wholesale protein

  foodstuffs (chicken breasts, ground beef, etc.) and dry-good food products operating throughout

  the United States.

          11.        Its customers include nationwide wholesalers, national food processors and food

  brands, food banks, correctional institutions, governmental institutions, universities, and

  educational systems.

          12.        The company has established itself as a leading purveyor of quality protein and dry-

  good food products and related services nationwide.

          13.        Semper Foods has developed valuable customer lists, substantial, ongoing

  customer relationships, and related confidential and proprietary information through a significant

  investment of time, manpower, and financial resources aimed at relationship building, along with

  years of trial and error.

          14.        Semper Foods’ customer relationships involve ongoing and repeat sales and orders;

  and it generally sources and provides the same or similar products and services to its customers

  month after month.

          15.        Similarly, Semper Foods has expended significant financial and human capital to

  build and maintain its nationwide supplier and vendor network, which it leverages to source and

  sell high quality food products to its customers at competitive prices.

          16.        Semper Foods’ customer, supplier, and vendor information, including without

  limitation supplier capabilities, past, present, and future customer needs and purchases, related
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  pricing, financial information, strategies, and techniques, are hard-earned, extremely valuable

  trade secrets and confidential information that Semper Foods carefully guards against competitors,

  and that provide the company with a current and future competitive advantage in the marketplace.

             17.        Semper Foods’ confidential and proprietary business information derives

  independent economic value from not being generally known or readily ascertainable through

  proper means by the public.

             18.        Semper Foods’ confidential and proprietary business information also provides it

  a competitive edge in the marketplace.

             B. Relevant Terms in Semper Foods’ Operating Agreement.

             19.        In order to protect its proprietary business model, its customer and pricing

 information, customer relationships, its goodwill and other confidential and trade secret

 information, the Members agreed in the Operating Agreement to certain restrictions and covenants

 during the course of their ownership and management of the company and for a reasonable time

 thereafter.

             20.        In Article XI(A), the Members agreed that, during the period that a Member or

 Authorized LLC Member Representatives1 (as defined in the Operating Agreement) owns or

 controls an ownership interest in Semper Foods and for the eighteen (18) month period commencing

 the day immediately following the date on which such Member or Authorized LLC Member

 Representative’s ownership interest or control thereof terminates (the “Exclusionary Period”), no

 Member or Authorized Member Representative (including Ouellette) may “directly or indirectly

 (a) own, invest, manage, operate, control or participate in any manner in the ownership,



  1
      Semper Consulting’s Authorized LLC Member Representative was Ouellette. See Ex. “A” at p. 2.

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 management, operation or control of any entity, (b) serve as a partner, equity holder, employee,

 principal, agent, or otherwise with any person or entity, or (c) have any financial interest in or

 relationship with any person or entity, that directly competes with the Company’s principal business

 operations as a food broker (a “Competing Activity”) anywhere in the United States.” Ex. “A” at

 pp. 14-15.

          21.        Ouellette accordingly agreed that “during the exclusionary period the Member or

 Authorized LLC Member Representative shall promptly notify the President of the Company … in

 advance in writing (which shall include a description of the activity) of the Member or Authorized

 LLC Member Representative’s intention to engage in any activity which could reasonably be

 deemed to be subject to the noncompetition provision […]. Id.

          22.        He further agreed in Article XI(B) during the Exclusionary Period not to “directly

 or indirectly … solicit any of the Company’s customers or suppliers who transacted any business

 with the Company within twelve (12) months prior to the Termination Date (as defined in the

 Operating Agreement) to engage in any transaction for the sale or purchase of any product or service

 provided by the Company.” Id.

          23.        Ouellette similarly agreed in Article XI(C) not to “disclose or use any trade secret,

  proprietary or confidential information of the Company” except in relation to performance of his

  services to Semper Foods. Id.

          24.        In addition to the foregoing restrictive covenants, the Members (including

  Ouellette) agreed in Article VIII(D) that any Member may be expelled from the company and an

  Officer may be removed from office for “cause.” See id. at p. 7.




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           25.       “Cause” includes without limitation the “commission of an act of fraud, theft or

  dishonesty against the Company[;]” or a “violation of the Non-Compete Provisions” of the

  Operating Agreement. Id.

           26.       To the extent a Member is expelled for “Cause,” the other two Members may elect

  by unanimous consent “to have the Company purchase the expelled Member’s Membership Units

  by paying the expelled Member the balance of the expelled Member’s Capital Account as reflected

  on the Company’s Records as of the date of expulsion,” at which point the expelled Member’s

  Membership Units shall then be allocated among the remaining Members. . .” Id.

           C. Ouellette’s Role with Semper Foods.

           27.       Ouellette co-founded Semper Foods.

           28.       He was its Chief Operating Officer and Second Vice President from the date of the

  company’s organization through April 3, 2023.

           29.       He accordingly owed certain statutory and contractual fiduciary duties to Semper

  Foods.

           30.       In his roles as founder, Second Vince President, and Chief Operating Officer,

  Ouellette held the veritable keys to the kingdom—unfettered access to the highest levels of Semper

  Foods’ competitive, non-public confidential, proprietary, and trade secret information critical to

  the company’s business.

           31.       This information includes, but is not limited to, Semper Foods’ entire business

  model and growth plans, specific identities and contact information for clients, suppliers, and

  vendors, their purchase histories and future purchasing needs, highly confidential pricing

  information, other financial information, pricing strategies and margins, as well as other valuable,


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  confidential information crucial to servicing and retaining Semper Foods’ customers, maintaining

  sales, maintaining the company’s goodwill and market share.

          32.        Ouellette also had access to other proprietary and confidential information

  entrusted to Semper Foods directly by its customers, suppliers, and vendors.

          33.        Similarly, he had privileged access to Semper Foods’ secure, password-protected

  sales database containing vast amounts of highly sensitive customer information.

          D. Semper Foods Implements and Maintains Comprehensive Policies and Measures
             to Protect Its Confidential and Sensitive Information.

          34.        Semper Foods invested substantial time and resources maintaining the client lists

  and the aforementioned confidential and proprietary information.

          35.        In addition to requiring Ouellette to enter into certain restrictive covenants, Semper

 Foods instituted numerous other measures to protect its confidential and proprietary information

 and trade secrets.

          36.        It relies on robust security measures, including confidentiality agreements,

 employee trainings, and technological measures, to protect its valuable trade secrets and proprietary

 and confidential information. For example, its employees are required to sign Non Disclosure and

 Non Solicitation Agreements as a condition of employment.

          37.        Semper Foods utilizes industry best practices to protect its computer network,

 where most of its proprietary, trade secrets and confidential information are stored. For example,

 Semper Foods provides access to specific files, networks, and systems for each employee on a need-

 to-know basis. Employees must use unique user IDs and passwords to login to Semper Foods’

 systems.



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          38.        Semper Foods also employs a host of security software to monitor and protect its

 proprietary, confidential and trade secret information. Semper Foods has deployed and uses Bit

 Defender on all company owned devices. It also has strict security settings in place in the Google

 Workspace, with administrative controls to view, monitor, quarantine all inbound and outbound

 email, including using both in-bound and out-bound firewalls, network monitoring and control by

 its IT department, scanning software for all outbound email, antivirus software, file-share

 monitoring software, restricted access folders on the internal network, and data encryption.

          39.        To access Semper Foods’ systems remotely, the company requires two-factor

 authentication. All of the technological security measures that Semper Foods implements within

 its offices are also in place when an employee uses a company laptop to remotely connect to Semper

 Foods’ systems.

          40.        Semper Foods also uses physical security at its offices to protect its proprietary,

 confidential and trade secret information, such as security guards at the building entrance, key cards

 to access internal workplaces, closed-circuit video monitoring, logs and escorts for all visitors, and

 password-protected workstations.

          E. Ouellette is Expelled as a Member of Semper Foods and Removed as an Officer
             for “Cause”.

          41.        Despite Ouellette’s unequivocal restrictive covenants, contractual obligations, and

  statutory fiduciary duties to Semper Foods, he repeatedly violated the Operating Agreement; and

  he was both disloyal and dishonest towards the company.




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                     1. Ouellette Lies About his Gambling Issues.

          42.        As early as April 2020 and subsequently thereafter, Ouellette repeatedly

  acknowledged to Semper Foods’ that his personal gambling habits posed a significant risk to the

  company.

          43.        He also affirmatively recognized that his gambling history exposed Semper Foods

  to additional scrutiny from financial institutions and potentially jeopardized the company’s ability

  to secure funding—which it ultimately did.

          44.        In fact, Ouellette went so far as to instruct Julia Furman, Semper Foods’ Director

  of Human Resources & Accounting, to hide certain pages of his tax return reflecting gambling

  income or losses when delivering same to lenders in furtherance of one or more loans or credit

  lines that Semper Foods was attempting to obtain.

          45.        On October 8, 2022, Ouellette confirmed in writing to Geller that he was no longer

  gambling, and that his wife did not approve of same because they had commingled their finances.

          46.        In fact, this was a bald-faced lie and was material to Semper Foods.

          47.        Two days later, Ouellette stayed at the MGM Grand in Detroit, Michigan, because

  he had “some friends in town and we’re going to gamble and crash there that night. . .”

          48.        As of October 15, 2022, Ouellette was still gambling large sums of money with

  MGM on-line gambling.

          49.        In addition, from December 2021 through November 2022, Ouellette

  communicated with MGM Grand in Detroit, Michigan and confirmed that he was gambling

  upwards of $10,000 per month.

          50.        Evidence shows that Ouellette engaged in gambling activities on an almost daily

  basis on his work computer from at least November 2022 through March 2023.
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            51.        Ouellette also appears to have taken regular gambling trips such as in February

  2023, when he traveled to the Encore Boston Harbor Casino in Massachusetts and gambled during

  the workweek despite having told Semper Foods that he was no longer gambling.

            52.        In March 2023, Semper Foods was unable to obtain a Line of Credit as a result of

  the gambling that Ouellette had falsely represented to the other Members that he no longer engaged

  in.

                       2. Ouellette Blatantly Violates his Restrictive Covenants.

            53.        Unbeknownst to Semper Foods or its other Members, in December 2022, Ouellette

  had discussions with The Real Good Food Company, Inc. (“RGF”), whereby he sought to be hired

  either as an RGF employee or independent contractor despite already being Semper Foods’ Second

  Vice President and Chief Operating Officer.

            54.        RGF is a food products seller; and many of its products and services overlap with

  those offered by Semper Foods. RGF also targets the same or similar suppliers and vendors as

  Semper Foods.

            55.        On December 17, 2022, Ouellette complained to Geller that he needed a second job

  to fund his desired lifestyle and blamed Semper Foods’ capital expenditures on technology.

            56.        In reality, Ouellette required additional income in part to fund his gambling habit.

            57.        He also asked Geller if “as long as I can adequately fulfill my duties with Semper

  Foods, you don’t see a problem with me obtaining secondary employment? Of course it would be

  a non-compete in the industry *a non-competing industry.” (typo in original).

            58.        On December 26, 2022, Ouellette sent a text to Geller revealing that he his “fourth

  and final interview” with RGF was forthcoming and stated that RGF would make purchases from

  Semper Foods once Ouellette began working there.
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          59.        Prior to then, Ouellette had concealed the true scope of his discussions with RGF.

          60.        On December 27, 2022, Ouellette asked one of Semper Foods’ procurement

  resources, Tim Panzeri, for pricing information to send to RGF. When he did so, he instructed Mr.

  Panzeri to “Cc me and tell them to reply all. That way I can take it from there. . .”

          61.        He further asked: “Would you feel [comfortable] saying you could do this, and you

  can assume I would be heavily involved because this would be a house account. . .”

          62.        Ouellette thereafter informed him that Ouellette was unsure how he could get Mr.

  Panzeri paid on the account even though Mr. Panzeri would essentially be doing all of the work.

          63.        Ouellette was utilizing Semper Foods’ procurement resources but did not intend to

  comply with existing protocol for new accounts; and as a result, intended to personally benefit

  from the relationship with RGF to the exclusion of Semper Foods.

          64.        On December 28, 2022, Semper Foods’ Members and Officers were scheduled to

  discuss Ouellette’s request.

          65.        Prior to the scheduled call, however, Ouellette called Geller and Geller informed

  him that under no circumstances would Semper Foods or its Members permit Ouellette to work

  for RGF.

          66.        During the call, Lopez also told Ouellette that he was not authorized to moonlight

  for RGF and expressed his disbelief that Ouellette would even ask to be permitted to work for

  another company in the same industry.

          67.        Ouellette then became agitated and demanded a salary commensurate with that paid

  to chief executive officers. The request was denied.




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          68.        Notwithstanding the foregoing, Ouellette had secretly received at his personal

  email address a draft Consulting Agreement from RGF whereby he or his company (not Semper

  Foods) would become a consultant for RGF.

          69.        Much, if not all, of the foregoing occurred when Ouellette was supposed to be on

  familial leave after the birth of his child.

          70.        On January 4, 2023, Ouellette forwarded the agreement from his personal email

  account to his Semper Foods email address and texted Geller: “just had a lengthy talk with RGF

  about assigning the consulting contract to semper foods. . .”

          71.        On January 7, 2023, Ouellette forwarded a draft agreement between RGF and

  Semper Foods to review for the first time.

          72.        On January 9, 2023—while Semper Foods was contemplating doing the business

  directly with RGF that Ouellette had first attempted to do on his own—Ouellette pressured a

  Semper Foods employee to provide him with confidential pricing information ahead of a dinner

  Ouellette had scheduled with RGF.

          73.        Semper Foods later learned that Ouellette had dinner in Orlando, Florida, that night

  with RGF without advising Geller or Lopez.

          74.        It was the first time since Semper Foods began that Ouellette did not submit

  expenses for reimbursement.

          75.        On January 13, 2023, at Ouellette’s behest, Semper Foods entered into a Consultant

  Agreement with RGF to explore supposedly mutually beneficial capabilities and opportunities (the

  “Consultant Agreement”).

          76.        Both Semper Foods and RGF agreed to strict confidentiality and non-disclosure

  restrictions governing the exchange of information pursuant to the Consultant Agreement.
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          77.        Semper Foods also agreed to certain non-solicitation and non-competition

  covenants at RGF’s request and in exchange for receipt of and access to certain RGF information

  because Semper Foods and RGF were otherwise competitive in the marketplace.

          78.        On information and belief, Ouellette “assigned” his consulting contract with RGF

  to Semper Foods only because he was caught trying to moonlight for RGF using Semper Foods’

  resources, but the relationship between Semper Foods and RGF was never expected to work.

          79.        In fact, on January 16, 2023—after Semper Foods and RGF had entered into the

  Consulting Agreement and despite certain restrictions set forth in Section X of same—Ouellette

  asked Mr. Panzeri to have one of Semper Foods’ vendors respond to Ouellette’s RGF email address

  rather than to his Semper Foods email address presumably for an undisclosed and improper side

  deal that cut out Semper Foods.

          80.        Almost immediately, and despite Ouellette’s representations otherwise, it became

  apparent that continuing a relationship with RGF was untenable.

          81.        On January 20, 2023, Ouellette sent an email to Andrew Bennington and others at

  Semper Foods, as well as its attorney, arguing that Semper Foods should terminate its relationship

  with RGF based on his claimed concern “of just being associated with them. . . based on how they

  do business.”

          82.        One hour earlier, however, Ouellette had sent proprietary pricing information to

  RGF.

          83.        On January 20, 2023, Ouellette, on behalf of Semper Foods, sent RGF a Notice of

  Termination of the Consultant Agreement. The Notice of Termination confirmed that the

  Consultant Agreement was terminated effective immediately by mutual agreement and that

  Semper Foods and RGF had no ongoing obligations to one another.
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          84.        Unbeknownst to Semper Foods at the time, Ouellette nonetheless continued

  secretly working for RGF through an off-the-books consultancy engagement that he had negotiated

  and agreed to this with RGF’s Executive Chairman, Bryan Freeman.

          85.        Ouellette continued secretly providing services, funneling Semper Foods

  information to RGF, and likely diverting business from Semper Foods. Moreover, despite his

  ongoing duties as a full time Semper Foods employee, fiduciary, Officer, and Member, Ouellette

  began devoting significant time to working for RGF.

          86.        Throughout January and February 2023, Ouellette continued obtaining Semper

  Foods pricing and vendor information for use by RGF.

          87.        For example, on January 25, 2023, Ouellette emailed a Semper Foods vendor on

  behalf of RGF and stated to that vendor that “I am just doing some consulting for RGF” and

  requested a meeting to discuss purchasing from the vendor.

          88.        On January 26, 2023, Ouellette emailed another Semper Foods supplier on behalf

  of RGF seeking products and information for RGF’s use.

          89.        Ouellette was acutely aware that his conduct was improper.

          90.        On January 31, 2023, RGF’s Vice President and Controller, Jenn Arduino

  (“Arduino”), copied Ouellette on RGF correspondence to a new vendor using Ouellette’s Semper

  Foods email address and stated that Ouellette should “be reaching out with the documentation

  we’ll need from you to get set up as a vendor in our system.”

          91.        Concerned with Semper Foods learning of his improper conduct, Ouellette

  responded one minute later, asking Arduino to “please delete this email from your recents so that

  no messages go here! please.”


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          92.        And on February 20, 2023, Ouellette asked a subordinate at Semper Foods to

  provide him with the cell phone number for a Semper Foods chicken products vendor in order to

  share this information with RGF.

          93.        Concerningly, Ouellette also specifically instructed at least one subordinate at

  Semper Foods not to discuss the work he was doing or the information he was obtaining with the

  other Members or Officers of the Company.

          94.        In fact, Ouellette also regularly instructed the head of procurement to not perform

  work the head of procurement was instructed to perform by another member of Semper Foods

  while Ouellette was instructing the head of procurement to work for RGF.

          95.        Ouellette never sought or obtained approval from Semper Foods to share or disclose

  Semper Foods’ information with RGF.

          96.        He similarly was not authorized to utilize Semper Foods employees in furtherance

  of his own, competitive business activities or for RGF.

          97.        Nor did he seek or obtain approval from Semper Foods to engage in any

  consultancy engagement with RGF or to otherwise provide any services to or enter into any

  agreement with RGF.

          98.        His failure to seek and obtain approval to work for or provide services to RGF

  before (or at any time thereafter) directly violated Ouellette’s obligations under the Operating

  Agreement.

          99.        Ouellette’s disclosure of Semper Foods’ confidential information to RGF,

  solicitation of Semper Foods’ vendors and employees on behalf of RGF, and work for RGF

  violated his confidentiality, non-solicitation, and non-competition covenants under the Operating

  Agreement.
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          F. Semper Removes Ouellette as a Member and Officer.

          100.       On April 3, 2023, as a result of Ouellette’s breaches of his obligations under the

  Operating Agreement, and his persistent disloyal and dishonest conduct and self-dealing, Semper

  Foods removed him as an Officer and expelled him as a Member of Semper Foods by unanimous

  vote of the other Members for “Cause.”

          101.       Semper Foods thereafter repurchased Ouellette’s ownership interest in the

  Company pursuant to the provisions of the Operating Agreement.

          102.       After April 3, 2023, Ouellette was no longer an owner or officer of Semper Foods.

          G. Ouellette Continues His Campaign to Harm Semper.

          103.       Although Ouellette and Semper Consulting contested Ouellette’s removal as an

  officer and Semper Foods’ expulsion as a Member; he continued, and in fact ramped up, his efforts

  to compete with or otherwise harm Semper Foods.

          104.       For example, on or around May 9, 2023, Ouellette called Semper Foods’ insurer

  and misrepresented that he was still an owner of Semper Foods in an attempt to transfer a

  Company-owned insurance policy into his own name.

          105.       Similarly, Ouellette began coordinating a vindictive campaign to flood Semper

  Foods’ phone lines, email accounts, and LinkedIn messages with fake and irrelevant sales calls

  and outreaches. These included ongoing, unsolicited calls and written communications from

  various unrelated entities and countries, including from China and Indonesia.

          106.       While this childish behavior is indicative of Ouellette’s nefarious motive and desire

  to harm Semper Foods by any means necessary, the depth and consistency of this scheme has

  caused significant disruption and interference to Semper Foods’ normal business operations.


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          107.       In another particularly infantile display, Ouellette entered the email address for one

  of Semper Foods’ executives into various online car dealership inquiry forms, resulting in the

  executive being spammed with unsolicited communications.

          108.       In addition, despite Semper Foods’ demands that Ouellette update his LinkedIn

  profile, Ouellette refused to remove reference to Semper Foods for multiple months after his

  removal.

          109.       Upon information and belief, Ouellette also held himself as an owner and officer of

  Semper Foods long after April 3, 2023, in order to trade on Semper Foods’ name, cause confusion

  in the marketplace for his benefit and the benefit of others, and to Semper Foods’ detriment.

          H. Ouellette Joins JAFCO in Further Violation of His Restrictive Covenants and
             Interferes with Semper Foods’ Other Contracts.

          110.       Ouellette and the other Members engaged in a dialogue regarding potential

  resolution, which forestalled Semper Foods from immediately initiating litigation including the

  claims set forth in this Complaint.

          111.       While the Parties were in active discussions regarding resolution, however,

  Ouellette simultaneously continued his unlawful conduct, and committed new and ongoing

  breaches of the Operating Agreement.

          112.       Semper Foods recently learned that Ouellette is now working for and providing

  services to JAFCO Foods, Inc. d/b/a Curate Foodservice (“JAFCO”), in direct violation of his

  restrictive covenants in the Operating Agreement.

          113.       JAFCO is engaged in the same business as Semper Foods and is a direct competitor.

          114.       Like Semper Foods, JAFCO offers food products to businesses throughout the

  United States.

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           115.       Semper Foods and JAFCO operate in the same wholesale protein and dry-good

  food product market.

           116.       Like Semper Foods, JAFCO focuses its business on nationwide institutional clients,

  including wholesalers, food processors, retailers, and brands, as well as governmental, correctional

  and educational institutions and systems.

           117.       Indeed, JAFCO's public website confirms that it operates nationwide and services

  institutional clients, including corporations, healthcare systems, educational institutions, and food

  retailers.

           118.       Semper Foods and JAFCO target the same or similar food suppliers and vendors in

  order to provide products at the most competitive prices to their clients.

           119.       As such, Ouellette is able to and upon information and belief has used and continues

  to use Semper Foods’ trade secrets and goodwill in furtherance of his employment with JAFCO.

           120.       With his intimate knowledge of Semper Foods’ confidential information and trade

  secrets and the records of same located on his laptop, Ouellette can immediately use and likely has

  already used this information to solicit Semper Foods’ clients by undercutting Semper Foods

  pricing and by leveraging Semper Foods’ vendor and supplier network.

           121.       Ouellette’s employment with and provision of services to JAFCO is an unequivocal

  breach of the Operating Agreement and poses an immediate risk of irreparable harm to Semper

  Foods’ business.

           122.       In addition to his own ongoing breaches, Ouellette and JAFCO are actively working

  together to interfere with Semper Foods’ contractual rights and to otherwise harm Semper Foods.




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          123.       By way of example, Ouellette recently assisted with JAFCO’s solicitation and

  hiring of a former Semper Foods employee, Jacob Fournier-Williams (“Fournier-Williams”) in

  violation of Fournier-William’s own non-compete agreement with Semper Foods.

          124.       Ouellette’s solicitation of Fournier-Williams on behalf of JAFCO constitutes

  independent violations of the Operating Agreement and applicable law.

          125.       As a direct result of Ouellette’s breaches of the Operating Agreement and violations

  of applicable law, Semper Foods will be irreparably and irreversibly harmed absent entry of

  injunctive relief by this Court.

          126.       Ouellette has breached and continues to breach the restrictive covenants in the

  Operating Agreement as set forth above.

          127.       There is a likelihood of success on the merits and the balancing of the equities

  favors the issuance of an injunction against Ouellette.

          128.       Unless Ouellette is enjoined from his continued violation of the restrictive

  covenants in the Operating Agreement, Semper Foods will be immediately and irreparably

  harmed by, without limitation: (i) The loss of unique contract rights; (ii) The loss of actual and

  potential customers through the misappropriation and use of Semper Foods’ confidential,

  proprietary and trade secret information, as well as acts in breach of Ouellette’s contractual

  obligations owed to Semper Foods; (iii) actual and threatened misappropriation, disclosure and

  loss of Semper Foods’ trade secrets and confidential information, including but not limited to

  information related to Semper Foods’ proprietary information, pending projects, business

  plans and strategies, and pricing, as well as information related to Semper Foods’ customers,

  suppliers and vendors with regard to contact information, special needs, purchasing histories and

  the identity of individuals with decision-making authority; (iv) loss of confidence and trust of
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  customers, suppliers and vendors; (v) loss of goodwill and loss of business reputation and

  standing; (vi) and present economic loss, which is unascertainable at this time, and future

  economic loss, which is presently incalculable.

          129.       Semper Foods has no adequate remedy at law.

          130.       Semper Foods is entitled to a temporary, preliminary and permanent injunctive

  relief due to Ouellette’s material breaches of the Operating Agreement as well as because of

  Ouellette’s violations of the Defend Trade Secrets Act, 18 U.S.C. § 1836(b)(3) and the Florida

  Uniform Trade Secrets, Fla. Stat. § 688.003.

          131.       Semper Foods has retained the Nelson Mullins Riley & Scarborough, LLP, to

  represent it in this action and has agreed to pay the fees and costs associated therewith.

          132.       All conditions precedent to the maintenance of this action have occurred, have been

  waived, or have otherwise been performed.

                                                          COUNT I
                                                      Breach of Contract

          Semper Foods realleges Paragraphs 1 through 132 and incorporates same as if set forth

  fully herein.

          133.       The Operating Agreement is a valid and enforceable contract between Semper

  Foods and Ouellette.

          134.       Ouellette breached this contract on numerous occasions as set forth above.

          135.       Each of Ouellette’s breaches of the Operating Agreement have caused Semper

  Foods to suffer damages in an amount to be proven at trial.

          WHEREFORE, Plaintiff Semper Foods, LLC, in addition to such other and further relief

  as is deemed just and proper, demands judgment against Defendant, Eric Ouellette for damages in

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  excess of $75,000, exclusive of interest and costs, plus actual damages, consequential damages

  including without limitation lost profits, costs, attorneys’ fees, post-judgment interest, and the

  entry of a preliminary and permanent injunction enjoining Ouellette and all others with actual

  knowledge, directly or indirectly, alone or in concert with others, from:

          (A)        Being directly or indirectly employed by or providing services to JAFCO, or
                     otherwise participating in any way, directly or indirectly, in JAFCO’s business or
                     operations, or otherwise directly or indirectly engaging in any other Competitive
                     Activity as defined in the Operating Agreement;

          (B)        Directly or indirectly soliciting any customer or prospective customer, employee,
                     vendor, supplier, licensee, licensor or other business relation of Semper Foods for
                     the purpose of inducing or attempting to induce the same to cease doing business
                     with Semper Foods, or to otherwise interfere in any way with the relationship
                     between any such, customer, employee, vendor, supplier, licensee or business
                     relation and Semper Foods;

          (C)        Possessing, using, disclosing, or transmitting Semper Foods’ trade secrets
                     and confidential information, including but not limited to information related to
                     Semper Foods’ business plans, customer, vendor, or supplier lists or information,
                     data, marketing materials, methods, operations, processes, product development
                     processes, programs, financial information, pricing information and strategies,
                     employee compensation and benefits, personnel records and information,
                     promotional and marketing materials and methods, and providing that all original
                     documents, records, materials or devices containing or reflecting such information,
                     and all copies thereof, be immediately returned to Semper Foods;

          (D)        Requiring that Ouellette refrain from the destruction, alteration, transmittal or
                     movement of any documents or information, in whatever form, that may contain or
                     reflect Semper Foods’ confidential information or trade secrets so that said
                     documents and information may be gathered and reviewed by counsel for Semper
                     Foods and this Court;

          (E)       Requiring that Ouellette, through counsel, take all necessary actions to immediately
                    eliminate his possession of and access to any of Semper Foods’ confidential
                    information or trade secrets and all copies of the same, in a way that preserves all
                    evidence, information, and data including, without limitation, all metadata; and

          (F)       Requiring that Ouellette provide evidence that is sufficient to conclusively
                    establish his full compliance with the terms set forth in items (A) through (E) above.


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                                                       COUNT II
                                                 Breach of Fiduciary Duty

          Semper Foods realleges Paragraphs 1 through 132 and incorporates same as if set forth

  fully herein.

          136.       By virtue of his position of trust and confidence with Semper Foods, his role as a

  Second President and as Chief Operating Officer responsible for shaping company policies and

  business decisions, his supervision of other employees as part of his Semper Foods duties, and his

  unfettered access to confidential and trade secret information relating to Semper Foods’ business

  activities and interests, Ouellette owed to Semper Foods the statutory duties of loyalty and care,

  as well as the common law fiduciary duty to act exclusively in Semper Foods’ interest in all matters

  relating to Semper Foods’ business and to safeguard confidential information and not to disclose

  such information to a competitor, such as RGF or JAFCO.

          137.       Ouellette intentionally and maliciously breached those fiduciary duties to Semper

  Foods as set forth above.

  Semper Foods has been damaged as a direct and proximate result of Ouellette’ breaches of

  fiduciary duty.

          WHEREFORE, Plaintiff Semper Foods, LLC, demands judgment against Defendant, Eric

  Ouellette, for damages in excess of $75,000, exclusive of interest and costs, plus for actual

  damages, consequential damages including without limitation lost profits, costs, attorneys’ fees,

  punitive damages in the event that leave to so recover is ultimately granted, post-judgment interest,

  and such other and further relief as is deemed just and proper.




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                                                     COUNT III
                                     Violation of the Defend Trade Secrets Act

          Semper Foods realleges Paragraphs 1 through 132 and incorporates same as if set forth

  fully herein.

          138.       During his employment with Semper Foods, Ouellette had direct and intimate

  knowledge of Semper Foods’ confidential and proprietary business information, as described

  above, which information is exclusive to Semper Foods and not generally known in the industry.

          139.       Semper Foods’ confidential and proprietary information to which Ouellette

  gained access during his employment constitute trade secrets within the meaning of the DTSA

  because the information derives independent economic value, actual and potential, from not being

  generally known to or readily ascertainable through appropriate means by other persons who

  might obtain economic value from its disclosure or use, and are the subject of Semper Foods’

  efforts, as described hereinabove, that are reasonable under the circumstances to maintain their

  secrecy.

          140.       Semper Foods uses these trade secrets to market and sell its products and services

  in interstate commerce.

          141.       Ouellette obtained trade secrets while employed by Semper Foods and under a duty

  to maintain their secrecy, and Semper Foods did not give Ouellette permission to use or disclose

  Semper Foods’ trade secrets in the course and scope of his work on behalf of RGF, JAFCO, or

  otherwise.

          142.       Upon information and belief, Ouellette has used and is using Semper Foods’ trade

  secrets to truncate the time needed to enter markets competitive with Semper Foods, to compete



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  unfairly in the marketplace, and target Semper Foods’ customers.                                          All of these activities

  improperly capitalize on Semper Foods’ investment of time, resources and goodwill.

             143.       As a result of Ouellette’s misappropriation, disclosure, and use, Semper Foods

  has suffered, and will continue to suffer, irreparable harm in the form of actual and threatened

  misappropriation of its trade secrets and confidential information, harm to its goodwill and

  business reputation, and loss of confidence and trust among its customers.

             144.       Semper Foods has also suffered present economic loss, which is unascertainable

  at this time, and future economic loss, which is presently incalculable.

             145.       Unless restrained, Ouellette will continue to misappropriate Semper Foods’ trade

  secrets, causing continuing and irreparable injury to Semper Foods for which there is no adequate

  remedy at law.

             146.       Pursuant to 18 U.SC. § 1836(b)(3), Semper Foods is entitled to a temporary

  restraining order and a preliminary and permanent injunction barring Ouellette’s continued actual

  and threatened misappropriation of Semper Foods’ trade secrets as set forth above.

             147.       Semper Foods is further entitled to an award of actual damages incurred as a result

  of Ouellette’s wrongful acts, as well as an award of damages equal to his unjust enrichment and/or

  the imposition of a reasonable royalty as provided under the DTSA, § 1836(b)(3)(B).

             148.       Semper Foods is also entitled to an award of exemplary damages, as well as

  its reasonable costs and attorneys’ fees incurred hereby, pursuant to the DTSA, § 1836(b)(3)(C),

  (D).

             WHEREFORE, Plaintiff Semper Foods, LLC, in addition to such other and further relief

  as is deemed just and proper, demands judgment against Defendant, Eric Ouellette for damages in

  excess of $75,000, exclusive of interest and costs, plus actual damages, consequential damages
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  including without limitation lost profits, exemplary damages, costs, attorneys’ fees, post-judgment

  interest, and the entry of a preliminary and permanent injunction enjoining Ouellette and all others

  with actual knowledge, directly or indirectly, alone or in concert with others, from:

          (A)        Being directly or indirectly employed by or providing services to JAFCO, or
                     otherwise participating in any way, directly or indirectly, in JAFCO’s business or
                     operations, or otherwise directly or indirectly engaging in any other Competitive
                     Activity as defined in the Operating Agreement;

          (B)        Directly or indirectly soliciting any customer or prospective customer, employee,
                     vendor, supplier, licensee, licensor or other business relation of Semper Foods for
                     the purpose of inducing or attempting to induce the same to cease doing business
                     with Semper Foods, or to otherwise interfere in any way with the relationship
                     between any such, customer, employee, vendor, supplier, licensee or business
                     relation and Semper Foods;

          (C)        Possessing, using, disclosing, or transmitting Semper Foods’ trade secrets
                     and confidential information, including but not limited to information related to
                     Semper Foods’ business plans, customer, vendor, or supplier lists or information,
                     data, marketing materials, methods, operations, processes, product development
                     processes, programs, financial information, pricing information and strategies,
                     employee compensation and benefits, personnel records and information,
                     promotional and marketing materials and methods, and providing that all original
                     documents, records, materials or devices containing or reflecting such information,
                     and all copies thereof, be immediately returned to Semper Foods;

          (D)        Requiring that Ouellette refrain from the destruction, alteration, transmittal or
                     movement of any documents or information, in whatever form, that may contain or
                     reflect Semper Foods’ confidential information or trade secrets so that said
                     documents and information may be gathered and reviewed by counsel for Semper
                     Foods and this Court;

          (E)       Requiring that Ouellette, through counsel, take all necessary actions to immediately
                    eliminate his possession of and access to any of Semper Foods’ confidential
                    information or trade secrets and all copies of the same, in a way that preserves all
                    evidence, information, and data including, without limitation, all metadata; and

          (F)       Requiring that Ouellette provide evidence that is sufficient to conclusively
                    establish his full compliance with the terms set forth in items (A) through (E) above.




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                                                   COUNT IV
                               Violation of the Florida Uniform Trade Secrets Act

          Semper Foods realleges Paragraphs 1 through 132 and incorporates same as if set forth

  fully herein.

          149.       During his employment with Semper Foods, Ouellette had direct and intimate

  knowledge of Semper Foods’ confidential and proprietary business information and process for

  product pricing and sales, as described hereinabove, information which is exclusive to Semper

  Foods and is not generally known in the industry.

          150.       Semper Foods’ confidential and proprietary information constitute trade secrets

  pursuant to the Florida Uniform Trade Secrets Act (FUTSA), Fla. Stat. § 688.001, et seq. The

  information derives independent economic value, actual and potential, from not being generally

  known to or readily ascertainable through appropriate means by other persons who might obtain

  economic value from its disclosure or use.

          151.       As described above, Semper Foods made reasonable efforts under the

  circumstances to maintain the secrecy of the information by having Ouellette enter into restrictive

  covenants and other restrictions under the Operating Agreement in order to safeguard Semper

  Foods’ confidential and proprietary information.

          152.       Ouellette obtained these trade secrets while employed by Semper Foods and is

  under a duty to maintain their secrecy, and Semper Foods did not grant Ouellette permission to use

  or disclose Semper Foods’ trade secrets in the course and scope of his work on behalf of RGF,

  JAFCO, or otherwise.




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          153.       Capitalizing on Semper Foods’ investment of time, resources and goodwill,

  Ouellette is using Semper Foods’ trade secrets to target Semper Foods’ customers, vendors,

  suppliers, and employees, and to compete unfairly in the marketplace.

          154.       As a result of Ouellette’s misappropriation, Semper Foods has suffered

  irreparable harm in the form of actual and threatened misappropriation of its trade secrets

  and confidential information, injury and harm to its goodwill and business reputation and loss of

  confidence and trust among its customers.

          155.       Semper Foods has also suffered present economic loss, which is unascertainable

  at this time, and future economic loss, which is presently incalculable.

          156.       Unless restrained, Ouellette will continue to misappropriate Semper Foods’ trade

  secrets, causing even further irreparable injury to Semper Foods for which there is no adequate

  remedy at law.

          157.       Pursuant Section 688.003 of the FUTSA, Semper Foods is entitled to a

  temporary restraining order and a preliminary and permanent injunctions barring Ouellette’s

  continued actual and threatened misappropriation of Semper Foods’ trade secrets as set forth

  hereinabove.

          158.       Semper Foods is further entitled to an award of actual damages incurred as a result

  of Ouellette’s wrongful acts, as well as an award of damages equal to his unjust enrichment and/or

  the imposition of a reasonable royalty as provided for by Section 688.004 of the FUTSA.

          159.       Semper Foods is also entitled to an award of exemplary damages, as well as its

  reasonable costs and attorneys’ fees incurred hereby, pursuant to Sections 688.004 and 688.005 of

  the FUTSA.


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          WHEREFORE, Plaintiff Semper Foods, LLC, in addition to such other and further relief

  as is deemed just and proper, demands judgment against Defendant, Eric Ouellette for damages in

  excess of $75,000, exclusive of interest and costs, plus actual damages, consequential damages

  including without limitation lost profits, exemplary damages, costs, attorneys’ fees, post-judgment

  interest, and the entry of a preliminary and permanent injunction enjoining Ouellette and all others

  with actual knowledge, directly or indirectly, alone or in concert with others, from:

          (A)        Being directly or indirectly employed by or providing services to JAFCO, or
                     otherwise participating in any way, directly or indirectly, in JAFCO’s business or
                     operations, or otherwise directly or indirectly engaging in any other Competitive
                     Activity as defined in the Operating Agreement;

          (B)        Directly or indirectly soliciting any customer or prospective customer, employee,
                     vendor, supplier, licensee, licensor or other business relation of Semper Foods for
                     the purpose of inducing or attempting to induce the same to cease doing business
                     with Semper Foods, or to otherwise interfere in any way with the relationship
                     between any such, customer, employee, vendor, supplier, licensee or business
                     relation and Semper Foods;

          (C)        Possessing, using, disclosing, or transmitting Semper Foods’ trade secrets
                     and confidential information, including but not limited to information related to
                     Semper Foods’ business plans, customer, vendor, or supplier lists or information,
                     data, marketing materials, methods, operations, processes, product development
                     processes, programs, financial information, pricing information and strategies,
                     employee compensation and benefits, personnel records and information,
                     promotional and marketing materials and methods, and providing that all original
                     documents, records, materials or devices containing or reflecting such information,
                     and all copies thereof, be immediately returned to Semper Foods;

          (D)        Requiring that Ouellette refrain from the destruction, alteration, transmittal or
                     movement of any documents or information, in whatever form, that may contain or
                     reflect Semper Foods’ confidential information or trade secrets so that said
                     documents and information may be gathered and reviewed by counsel for Semper
                     Foods and this Court;

          (E)       Requiring that Ouellette, through counsel, take all necessary actions to immediately
                    eliminate his possession of and access to any of Semper Foods’ confidential
                    information or trade secrets and all copies of the same, in a way that preserves all
                    evidence, information, and data including, without limitation, all metadata; and

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          (F)       Requiring that Ouellette provide evidence that is sufficient to conclusively
                    establish his full compliance with the terms set forth in items (A) through (E) above.

                                                         COUNT V
                                                    Tortious Interference

          Semper Foods realleges Paragraphs 1 through 132 and incorporates same as if set forth

  fully herein.

          160.       Semper Foods has substantial rights existing under its Non-Compete Agreement

  with its former employee Jacob Fournier-Williams.

          161.       Ouellette is aware of, was aware of, or reasonably should have been aware, of

  Fournier-Williams’ continuing contractual obligations to Semper Foods pursuant to this

  Agreement.

          162.       In spite of the above, Ouellette willfully, intentionally, with malice, and without

  justification or privilege induced Fournier-Williams’ breach of his continuing contractual

  obligations to Semper Foods.

          163.       Ouellette induced Fournier-Williams’ breach of his Non-Compete Agreement by

  soliciting Fournier-Williams on behalf of JAFCO and coordinating his employment with JAFCO,

  a direct competitor of Semper Foods.

          164.       Ouellette, through the above-described acts of interference, proximately caused

  substantial injury to Semper Foods.

          165.       Ouellette’s interference with Semper Foods’ contractual rights was in willful,

  wanton, malicious and reckless disregard of the rights existing thereunder, as well as of the

  harm that interference was causing and was foreseeably likely to cause, so that punitive

  damages and recovery of attorneys’ fees and expenses should be awarded to Semper Foods.


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          WHEREFORE, Plaintiff Semper Foods, LLC, demands judgment against Defendant, Eric

   Ouellette, for actual damages, consequential damages including without limitation lost profits,

   costs, attorneys’ fees, punitive damages in the event that leave to so recover is ultimately granted,

   post-judgment interest, and such other and further relief as is deemed just and proper.

                                                 JURY TRIAL DEMAND

          Semper Foods demands trial by jury on all issues so triable.

                                                                          Respectfully submitted,

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